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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


COWTOWN FOUNDATION INC.,                       )
P.O. Box 422                                   )
Arrington, TN 37014                            )
                                               )
ANDREW DOUGLAS as Heir and Representative      )
Of the Estate of ED DOUGLAS And                )
ODELL DOUGLAS                                 )
P.O.Box 253                                    )
Wisner, LA 71378                               )
                                               )
      Plaintiffs,                              ) Case No: 22-01166
                                               )
v.                                             )
                                               )
U.S. DEPT. OF JUSTICE                         )
Merrick Garland                               )
950 Pennsylvania Avenue, NW                   )
Washington, DC 20530-0001                     )
                                              )
THE UNITED STATES ATTORNEY                    )
555 4th St NW,                                )
Washington, DC 20530                          )
                                              )
U.S. DEPT. OF AGRICULTURE                     )
1400 Independence Ave., S.W.                  )
Washington, DC 20250                          )
                                              )
THE SECRETARY OF AGRICULTURE                  )
Tom Vilsack                                   )
U.S. Department of Agriculture                )
1400 Independence Ave., S.W.                  )
Washington, DC 20250                          )
                                              )
INDEPENDENT COMMUNITY BANKERS                 )
OF AMERICA                                    )
Rebecca Rainey                                )
1615 L Street NW                              )
Washington, DC. 20036                         )
                                              )
AMERICAN BANKERS ASSN.                        )


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Rob Nichols                                                        )
1120 Constitution Ave. NW                                          )
Washington, DC 20036                                               )
                                                                   )
NATIONAL RURAL LENDERS ASSN.,                                      )
Pam Moore – Wilcher                                                )
427 Western Hill Rd.                                               )
Pineville, LA. 71360-2641                                          )
                                                                   )
         Defendants.                                               )




                         NOTICE OF VOLUNTARY DISMISSAL




        COMES NOW the Plaintiffs, Cowtown Foundation, Inc., Andrew Douglas, and the Estates

of Ed Douglas and Odell Douglass and hereby notify the Court we are voluntarily dismissing our

complaint without prejudice.


Legal Standard

A plaintiff may voluntarily dismiss an action without a court order by filing: (i) a notice of dismissal

before the opposing party serves either an answer or a motion for summary judgment; or (ii) a stipulation

of dismissal signed by all parties who have appeared. Fed. R. Civ. P. 41(a)(1)(A). The dismissal is

without prejudice unless otherwise stated. Fed. R. Civ. P. 41(a)(1)(B). A voluntary dismissal with

prejudice serves as an adjudication on the merits and thus is a final judgment. Schmier v. McDonald’s

LLC, 569 F.3d 1240, 1242 (10th Cir. 2009); see Randall v. Merrill Lynch, 820 F.2d 1317, 1320

(D.C. Cir. 1987) (a second voluntary dismissal, which is a dismissal with prejudice, operates as

an adjudication on the merits and is a final judgment); 8 James Wm. Moore et al., Moore’s

Federal Practice ¶ 41.34(c) (3d ed. 2013). A voluntary dismissal is self-executing; no further

order from the court is needed. Edwards-Brown v. Crete Monee 201-U Sch. Dist., 491 Fed.


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Appx. 744, 745 (7th Cir. 2012); Meineke v. H & R Block of Hous., 66 F.3d 77, 82 (5th Cir.

1995); De Leon v. Marcos, 659 F.3d 1276, 1283 (10th Cir. 2011); Moore et al, supra, ¶ 41.34

(6)(a). Once a plaintiff files the voluntary dismissal, “the case is closed and the plaintiff may not

unilaterally withdraw or amend the [dismissal].” Moore et al, supra, ¶ 41.33.




Dated: May 4, 2022

Cheyenne, Wyoming
Charlotte, North Carolina


                                                                            Respectfully submitted,

                                                                             /s/ Jillian Hishaw_____

                                                                                 JILLIAN HISHAW
                                                                                     NC Bar # 57218
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                                                                                Counsel for Plaintiff




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